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                                                                                                           E-FILED
                                                                           Friday, 02 December, 2022 11:23:41 AM
                                                                                      Clerk, U.S. District Court, ILCD

                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE CENTRAL DISTRICT OF ILLINOIS
                                        PEORIA DIVISION

  Anthony Gay,                                         )
                                                       )
                     Plaintiff,                        )       Case No. 1:19-CV-01133
                                                       )
    v.                                                 )       Judge Sue Myerscough
                                                       )       Magistrate Judge Eric I. Long
  John Baldwin et al.,                                 )
                                                       )
                     Defendants.                       )

                                     PLAINTIFF’S STATUS REPORT

              Plaintiff Anthony Gay, by and through his undersigned attorneys, respectfully submits

  this status report.

         1.        This status report concerns Plaintiff counsel’s efforts to gather affidavit materials

from Mr. Gay in order to respond to the sanctions motion filed by defendant Wexford Health

Sources, Inc.

         2.        Plaintiff counsel was able to hold a call with Mr. Gay on December 1, 2022.

Counsel was able to review the affidavit with Mr. Gay. Mr. Gay asked counsel to make two

changes to the affidavit. Counsel made those changes and transmitted the revised affidavit to

BOP counsel with a request that it be provided to Mr. Gay for his signature.

         3.        As of this filing Plaintiff counsel have not received a response from BOP counsel.

         4.        Having consulted with Mr. Gay regarding his affidavit, Plaintiff counsel will be

able to file the response to Wexford’s sanctions motion by Friday, December 9, 2022. Should the

signed copy of Mr. Gay’s affidavit not arrive by that date, Plaintiff counsel will attach the revised

draft copy transmitted to BOP counsel to the response brief, and will supplement Plaintiff’s

response with a signed copy of Mr. Gay’s affidavit when it arrives.


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Dated: December 2, 2022                  Respectfully submitted,

                                         /s/ Stephen H. Weil

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                                  CERTIFICATE OF SERVICE
       I certify that the foregoing was filed December 2, 2022, on the Court’s CM/ECF system,
which serves copies on all counsel of record.
       Furthermore, I certify that I simultaneously served a copy of the foregoing on the following
via email:

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                                                           /s/ Stephen H. Weil
